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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

PAWNEE LEASING CORPORATION,                         )
                                                    )
                      Plaintiff,                    )
                                                    )       Case No. 20-cv-03860
              v.                                    )
                                                    )       Honorable Marvin E. Aspen
                                                    )
MIDWEST MEDICAL SYSTEMS, INC.                       )
MELROSE PARK IMMEDIATE                              )
CARE LTD., GOWHAR KHAN, and                         )
TABISH KHAN                                         )
                                                    )
                      Defendants.                   )

            JOINT STATUS REPORT FOR MAGISTRATE JUDGE WEISMAN

       NOW COME Plaintiff PAWNEE LEASING CORPORATION (“Pawnee”) and

Defendants MIDWEST MEDICAL SYSTEMS, INC. (“Midwest Medical”), MELROSE PARK

IMMEDIATE CARE LTD. (“Melrose Park”), GOWHAR KHAN (“G. Khan”), and TABISH

KHAN (“T. Khan”) (collectively, the “Defendants”), by and through their counsel, and for their

Joint Status Report for Magistrate Judge Weisman, state as follows:

       1.     On July 1, 2020, Pawnee filed its Verified Complaint for money damages against

              Midwest Medical, Melrose Park, G. Khan, and T. Khan, and for detinue and

              replevin of certain equipment against Midwest Medical. See Verified Complaint,

              Doc. 1. Pawnee’s breach of contract claim against the Defendants sought damages

              of $165,192.07, plus late fees, prejudgment interest, attorney’s fees and costs.

       2.     On November 12, 2020, the Honorable Magistrate Judge Weisman conducted a

              settlement conference. However, the parties were unable to reach a resolution at

              the settlement conference.



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 3.     After the settlement conference, the parties continued to discuss settlement.

 4.     While the parties have not yet reached a resolution, they are currently $35,000.00

        apart on their respective settlement offers.

 5.     A status hearing before Magistrate Judge Weisman has been set for December 3,

        2020 at 1pm.

 6.     The parties believe that a further settlement conference would be beneficial. The

        parties are available in the afternoons on December 14, 15, 16 and 17. If Magistrate

        Judge Weisman is unavailable on those dates, the parties can choose a mutually

        convenient date at the status hearing on December 3.



                                               PAWNEE LEASING CORPORATION,

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                                               MIDWEST MEDICAL SYSTEMS, INC.,
                                               MELROSE PARK IMMEDIATE CARE
                                               LTD., GOWHAR KHAN and TABISH
                                               KHAN

                                       By:     /s/ Steven H. Jesser
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